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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
     v.                            )                  CASE NO. 2:13cr90-MHT
                                   )                        (WO)
SARA CHILSOM, a/k/a Sarah McMillan )

                              FORFEITURE MONEY JUDGMENT

          THIS CAUSE comes before the Court upon the United States of America’s Motion for a

Forfeiture Money Judgment in the amount of $10,845.00.

          Being fully advised of the relevant facts, the Court hereby finds that Defendant Sara

Chilsom obtained at least $10,845.00 in proceeds from the mail fraud scheme, to which she plead

guilty.

          Accordingly, it is hereby:

          ORDERED, ADJUDGED and DECREED that for good cause shown, the United States

of America’s Motion for a Forfeiture Money Judgment (doc. no. 294) is GRANTED.

          It is further ORDERED that, pursuant to 18 U.S.C. § 982(a)(2) and Rule 32.2(b)(2) of the

Federal Rules of Criminal Procedure, the Defendant shall be held liable for a forfeiture money

judgment in the amount of $10,845.00.

          It is further ORDERED that, upon entry of this order, it shall become a final order of

forfeiture as to the Defendant.

          The Court retains jurisdiction to address any third party claim that may be asserted in

these proceedings, to enter any Further order necessary for the forfeiture and disposition of such



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property, and to order any substitute assets forfeited to the United States up to the amount of the

forfeiture money judgment.

       DONE this 15th day of November, 2013.




                                            /s/ Myron H. Thompson
                                        UNITED STATES DISTRICT JUDGE




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